                     Case 4:13-cr-00007-JRH-CLR Document 709 Filed 03/16/15 Page 1 of 1
AC 247 (10/11) Order Regarding Motion for Sentence Reduction PUrSLiant to 18 USC. § 3582(c)(2)                               Page 1 of 2 (Page 2 Not for Public Disclosure)




                                                               UNITED STATES DISTRICT COURT
                                                                               for the
                                                                     Southern District of Georgia
                                                                         Savannah Division

                       United States of America                                         )
                                        V.                                              )
                                                                                            Case No: 4:13-CR-00007-9
                          Chad Fitzgerald McCoy                                         )



                                                                                        ) USMNo: 17903-021
Date of Original Judgment:         October 18, 2013                                     ) William G. Bell, 111
Date of Previous Amended Judgment: Not Applicable                                       ) Defendant's Attorney
(Use Date ofLasi Amended Judgment, ((any)


                                          Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


        Upon motion of         the defendant                    E
                                                  the Director of the Bureau of Prisons      the court under 18 U.S.C.
§ 3582(c)(2) for a reduction  in the term of imprisonment  imposed   based  on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § I B 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
    DENIED. F
            X GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the lasifudgrnent
              issued) of 46    months is reduced to                        37 months


                                                    (Complete Paris I and 11 of Page 2 when motion is granted)




                                                                                                            U. S. DISTRICT COURT
                                                                                                            Southern District of Ga.
                                                                                                                 Filed in Office



                                                                                                                       opu1y Clerk




Except as otherwise provided above, all provisions of the judgment dated October 18. 2013,                             shall remain in effect.
IT IS SO ORDERED.

Order Date:                                     ''



                                                                                                              Judge        nattt'


                                                                                            William T. Moore, Jr.
                                                                                            Judge, U.S. District Court
Effective Date: November 1. 2015                                                            Southern District of Georgia
                         (ifdiJji'rentfrotn order dctie)                                                     Printed name and title
